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                                               Hearing Date and Time: April 9, 2020 at 10:00 a.m.
                                                               Objection Deadline: April 2, 2020


RUBIN LLC
Paul A. Rubin
Hanh V. Huynh
345 Seventh Avenue, 21st Floor
New York, New York 10001
Tel: 212.390.8054
Fax: 212.390.8064
prubin@rubinlawllc.com
hhuynh@rubinlawllc.com

Counsel for the Debtor

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x
                                    :
In re:                              :                               Chapter 11
                                    :
WANSDOWN PROPERTIES CORPORATION :                                   Case No.: 19-13223 (SMB)
N.V.,                               :
                                    :
               Debtor.              :
------------------------------------x

        NOTICE OF HEARING ON DEBTOR’S APPLICATION FOR AN ORDER
      AUTHORIZING THE RETENTION OF COMPASS AND ROSEWOOD REALTY
    GROUP AS REAL ESTATE BROKERS PURSUANT TO SECTIONS 327(a) AND 328(a)
          OF THE BANKRUPTCY CODE AND BANKRUPTCY RULES 2014(a)

         PLEASE TAKE NOTICE that a hearing (the “Hearing”) to consider the application (the

“Application”)1 for entry of an order approving the retention of Urban Compass, Inc. d/b/a

Compass (“Compass”) and Rosewood Realty Group (“Rosewood,” and together with Compass,

the “Brokers”), as exclusive real estate brokers for the Debtor pursuant to sections 327(a) and

328(a) of title 11 of the United States Code, Rules 2014 of the Federal Rules of Bankruptcy

Procedure, and Local Rule 2014-1 of the Local Bankruptcy Rules for the Southern District of

New York, has been scheduled to be heard before the Honorable Stuart M. Bernstein, United
1
 A copy of the Application, without exhibits, is attached to this notice. The exhibits are filed on the docket and
available for viewing at the Court’s ECF website at https://ecf.nysb.uscourts.gov/ for parties with PACER
credentials. You may also obtain copies of the exhibits by contacting the undersigned counsel for the Debtor at
hhuynh@rubinlawllc.com.
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States Bankruptcy Court for the Southern District of New York, One Bowling Green, New York,

NY 10004, on April 9, 2020, at 10:00 a.m.

       PLEASE TAKE FURTHER NOTICE that objections the Application, if any, must be

in writing, shall conform to the Bankruptcy Rules and the Local Rules of the Bankruptcy Court,

and shall be filed with the Bankruptcy Court, with a courtesy copy to the Bankruptcy Court, and

shall be served upon (a) counsel for the Debtor, Rubin LLC, 345 Seventh Avenue, 21st Floor,

New York, NY 10001 (Attn.: Paul A. Rubin); (b) the Office of the United States Trustee, 201

Varick Street, New York, NY 10014 (Attn.: Paul Schwartzberg); and (c) all parties who have

timely filed requests for notice under Rule 2002 of the Bankruptcy Rules, so as to be received no

later than April 2, 2020.

Dated: New York, New York
       March 12, 2020

                                                    RUBIN LLC

                                                    By:    /s/ Paul A. Rubin
                                                           Paul A. Rubin
                                                           Hanh V. Huynh

                                                    345 Seventh Avenue, 21st Floor
                                                    New York, New York 10001
                                                    Tel: 212.390.8054
                                                    Fax: 212.390.8064
                                                    prubin@rubinlawllc.com
                                                    hhuynh@rubinlawllc.com




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Paul A. Rubin
Hanh V. Huynh
345 Seventh Avenue, 21st Floor
New York, New York 10001
Tel: 212.390.8054
Fax: 212.390.8064
prubin@rubinlawllc.com
hhuynh@rubinlawllc.com

Counsel for the Debtor

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x
                                    :
In re:                              :                  Chapter 11
                                    :
WANSDOWN PROPERTIES CORPORATION :                      Case No.: 19-13223 (SMB)
N.V.,                               :
                                    :
               Debtor.              :
------------------------------------x

        DEBTOR’S APPLICATION FOR AN ORDER AUTHORIZING THE
       RETENTION OF COMPASS AND ROSEWOOD REALTY GROUP AS
      REAL ESTATE BROKERS PURSUANT TO SECTIONS 327(a) AND 328(a)
        OF THE BANKRUPTCY CODE AND BANKRUPTCY RULES 2014(a)

       Wansdown Properties Corporation N.V. (the “Debtor”), the debtor and debtor in

possession herein, by its counsel, Rubin LLC, hereby submits this application (the

“Application”) for entry of an order in the form annexed hereto as Exhibit A approving the

retention of Urban Compass, Inc. d/b/a Compass (“Compass”) and Rosewood Realty Group

(“Rosewood,” and together with Compass, the “Brokers”), as exclusive real estate brokers for the

Debtor pursuant to sections 327(a) and 328(a) of title 11 of the United States Code (the

“Bankruptcy Code”), Rules 2014 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), and Local Rule 2014-1 of the Local Bankruptcy Rules for the Southern




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District of New York (the “Local Rules”). In support of the Application, the Debtor respectfully

represents as follows:

                                PRELIMINARY STATEMENT

        1.     The Debtor was unsuccessful in its efforts to sell its townhouse located at 29

Beekman Place, New York, New York 10022 (the “Property”) in a private sale to 29 Beekman

Corp. (the “Purchaser”) in accordance with the sale order entered by the Court on January 16,

2020.

        2.     Because a sale of the Property to the Purchaser did not close, the Debtor has

determined that it is in the best interest of the Debtor, its estate, and creditors to market the

Property for sale at auction. By this Application, the Debtor seeks approval of its retention of the

Brokers to assist the Debtor with the marketing and sale of the Property. Compass was retained

by the Debtor before this case was commenced, and Rosewood’s brokers have experience and

expertise in marketing properties of debtors in bankruptcy. The Debtors believe that the Brokers

can play an important role in maximizing value to the Debtor’s estate through a sale of the

Property, the net proceeds of which will be used to fund a chapter 11 plan.

                                JURISDICTION AND VENUE

        3.     The Court has jurisdiction to hear this Application pursuant to 28 U.S.C. §§ 157

and 1334. Venue in this District is proper under 28 U.S.C. §§ 1408 and 1409.

        4.     This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A).

        5.     The statutory predicates for relief requested herein are sections 327(a) and 328 of

the Bankruptcy Code, and Rules 2014 and 2016 of the Bankruptcy Rules.




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                                      BACKGROUND

       6.     On October 8, 2019 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code in this Court, and an order for relief under

section 301 of the Bankruptcy Code was entered in this case (the “Chapter 11 Case”).

       7.     The Debtor has been authorized to remain in possession of its property and to

continue in the operation and management of its business as a debtor in possession pursuant to

sections 1107 and 1108 of the Bankruptcy Code.

       8.     No official committee of unsecured creditors has been appointed by the Office of

the United States Trustee for the Southern District of New York (the “U.S. Trustee”) in the

Chapter 11 Case.

       9.     The Debtor was incorporated in 1979 under the laws of Curacao, in accordance

with Article 38 of the Commercial Code of the Netherlands Antilles and continues to exist under

the laws of the Netherland Antilles. The Debtor’s sole significant asset is the Property. The

Property is vacant and does not have any tenants. The Property does not generate any operating

revenue.

       10.    Prior to the Petition Date, the Debtor worked with Charlie Attias, a licensed real-

estate broker at the Corcoran Group, to market and sell the Property. In or around September

2019, Mr. Attias left Corcoran Group and began working at Compass. Following his move to

Compass, the Debtor and Compass entered into an Exclusive Townhouse Sales Agreement dated

September 7, 2019 (the “Compass Agreement”) with respect to the exclusive right of Compass to

sell the Property. The Compass Agreement provides for compensation of a 5% commission.

       11.    Although Mr. Attias has shown the Property to a number of interested parties, no

buyer (other than the Purchaser with whom the Debtor failed to close) has made an offer to

purchase the Property. Thus, the Debtor has determined that the marketing of the Property


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would benefit from the services of Rosewood as a co-broker. The Debtor has negotiated with

both Compass and Rosewood on the terms of their retention as co-brokers to the Debtor, as

memorialized in the Retention Agreement dated as of March 5, 2020, between and among

Compass, Rosewood and the Debtor (the “Listing Agreement”). Compass has agreed that the

Listing Agreement will supersede and replace the Compass Agreement. Compass will not seek

any compensation or assert any claim against the Debtor based on the Compass Agreement, and

will only seek to be paid under the terms of the Listing Agreement, subject to this Court’s

approval of the Application.

       12.     The Property is encumbered by a mortgage in favor of National Investment Bank

(N.A.) (the “Mortgage Lender”). The Mortgage Lender has filed a proof of claim in the Chapter

11 Case asserting a fully secured claim in the amount of $5,627,088.52, inclusive of interest,

default interest, and fees. According to a payoff letter provided by the Mortgage Lender, its

claim as of February 10, 2020 is $5,846,627.60. Default interest on the Mortgage Lender’s claim

accrues at 10% per annum, or approximately $50,000 per month.

       13.     Thus, the carrying costs associated with the Property, including interest on the

Mortgage Lender’s claim, are significant. Any delay in selling the Property is highly prejudicial

to the Debtor and its estate.

                                     RELIEF REQUESTED

       14.     By this Application, pursuant to sections 327 and 328 of the Bankruptcy Code,

the Debtor seeks to employ and retain the Brokers as exclusive real estate agents and brokers for

the Debtor’s Property pursuant to the terms of the Broker’s Listing Agreement through the date

that is six months after entry of the order approving this Application.          In light of the

circumstances of this Chapter 11 Case, the Debtor requires the services of skilled real estate

brokers with extensive experience with high-end luxury residential properties.


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       15.     As the Debtor’s real estate brokers for the Property, the Brokers will assist in the

marketing and sale of the Property. The Debtor believes the Brokers’ retention is necessary

given the Debtor’s need to sell the Property in a prompt, efficient and cost-effective manner.

             SERVICES TO BE RENDERED DURING THE CHAPTER 11 CASE

       16.     Pursuant to the terms of the Listing Agreement, the Brokers will use their

commercially reasonable efforts to obtain a satisfactory purchaser for the Property on such terms

as are acceptable to the Debtor. The Brokers will negotiate the business terms of each purchase

and sale agreement on behalf of the Debtor, subject to the Debtor’s review and approval. The

Brokers will cooperate with other licensed real estate brokers representing purchasers subject to

the terms of the Listing Agreement.

       17.     The services will be rendered by the Brokers in connection with the proposed

engagement are not duplicative of the services to be performed by any of the Debtor’s other

retained professionals or advisors. The Debtor believes the foregoing services are critical to the

success of the proposed sale of the Property.

                            THE BROKERS’ QUALIFICATIONS

       18.     As set forth more fully in the Corbin Declaration and the Attias Declaration, the

Brokers are well-suited to provide the real estate services required by the Debtor. The Brokers

are licensed real estate brokers in and by the State of New York with substantial experience in

the marketing and sale of high-end residential properties such as the Property here. The Debtor

believes that the Brokers will be able to effectively and efficiently market the Property.

                             PROFESSIONAL COMPENSATION

       19.     As set forth in Section 4 of the Listing Agreement, upon the sale of the Property,

subject to clause (c) below, the Brokers will be paid an aggregate commission (the

“Commission”) of five percent (5%) of the gross purchase price of the Property, with each


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Broker to receive 50% of the Commission at the closing on any transaction for the Property,

upon the occurrence of the following:

              (a)     Debtor enters into an agreement during the Term to sell, transfer or
                      convey ownership of the Property in whole or in part, whether individually
                      or as part of a package, or a sale of the Property at a bankruptcy auction,
                      or other sale permitted by the bankruptcy court, such as a sale under
                      Section 363 of the Bankruptcy Code or pursuant to a confirmed plan of
                      reorganization, regardless of whether the Debtor engages a different
                      broker or advisor to close the Transaction; or

              (b)     If a sale, exchange or other conveyance of the Property or ownership or
                      control of the Property is made or takes place, within one hundred eighty
                      (180) days after expiration or termination of the Term (the “Additional
                      Period”), to a Prospective Purchaser with whom Debtor had not reached
                      an agreement during the Term, but (i) with whom a Broker has negotiated
                      concerning the Property, or to whose attention the Property has been
                      brought by a Broker, or who was introduced to Debtor by a Broker during
                      the Term, and (ii) to whom such Broker has shown the Property, during
                      the Term (each such Prospective Purchaser shall hereinafter be referred to
                      as an “Active Prospect”). Within five (5) days after the expiration or
                      termination of the Term, each Broker shall deliver to Debtor a true, correct
                      and complete list of Active Prospects.

              (c)     Notwithstanding anything to the contrary contained in the Listing
                      Agreement, if a sale, exchange or other conveyance of the Property, or
                      ownership or control of the Property, is made or takes place, whether
                      during the Term or the Additional Period, to a Prospective Purchaser
                      (i) listed on Exhibit A to the Listing Agreement and (ii) with whom
                      Compass has visited the Property and to whom Compass has shown the
                      Property, then the Commission shall not be paid to the Brokers in
                      accordance with the allocation set forth above; rather, the Commission
                      shall be paid as follows: sixty percent (75%) of the Commission shall be
                      paid to Compass and forty percent (25%) of the Commission shall be paid
                      to Rosewood, in each case, at the Closing, without further order of the
                      Court, by the Prospective Purchaser.

       20.    The Debtor seeks approval of the Listing Agreement pursuant to sections 327(a)

and 328(a) of the Bankruptcy Code. Section 328(a) provides, in relevant part, that a debtor “with

the court’s approval, may employ or authorize the employment of a professional person under

section 327 … on any reasonable terms and conditions of employment, including on a retainer,




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on an hourly basis, on a fixed or percentage fee basis, or on a contingent fee basis.” 11 U.S.C.

§ 328(a).

       21.     The Debtor submits that the fee structure set forth in the Listing Agreement is

reasonable under section 328(a) of the Bankruptcy Code in light of (a) the nature and scope of

services to be provided by the Brokers, (b) industry practice with respect to the fee structure

proposed by the Brokers, (c) market rates charged for comparable services both in and out of

chapter 11, and (d) the Brokers’ substantial experience in the New York real estate market.

       22.     In addition, the terms of the Listing Agreement were negotiated in good faith and

at arms-length between the Debtor and the Brokers, and reflect the Debtor’s evaluation of the

value and expertise of the work to be performed by the Brokers.

                                    DISINTERESTEDNESS

       23.     The Debtor seeks approval of the fee arrangement in the Listing Agreement and

authority to retain and employ the Brokers as the Debtor’s brokers in this Chapter 11 Case under

section 327(a) of the Bankruptcy Code. Section 327(a) provides that a debtor “may employ one

or more attorneys, accountants, appraisers, auctioneers, or other professional persons, that do not

hold or represent an interest adverse to the estate, and that are disinterested persons, to represent

or assist the [debtor in possession] in carrying out [its] duties.” 11 U.S.C. § 327(a).

       24.     To the best of the Debtor’s knowledge, and as set forth in more detail in the

Corbin Declaration and the Attias Declaration, and subject to the disclosures made therein, the

Brokers (a) are each a “disinterested person” as that term is defined in section 101(14) of the

Bankruptcy Code, as modified by section 1107(b) of the Bankruptcy Code, and (b) do not hold

or represent an interest adverse to the Debtor or the Debtor’s estate.

       25.     Furthermore, except as disclosed in the Corbin Declaration and the Attias

Declaration, the Brokers have indicated that, based on the results of their research conducted to


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date, and to the best their knowledge, neither of the Brokers, nor any employee thereof providing

the services to the Debtor under the Listing Agreement, has any connection with the Debtor, any

creditors of the Debtor’s estate, or any other parties-in-interest or their respective attorneys and

accountants, or other advisors, or the U.S. Trustee, or any person employed in the Office of the

U.S. Trustee.

       26.      The Brokers were not owed any amounts by the Debtor as of the Petition Date

and do not hold a claim against the Debtor’s estate. The Brokers have indicated that if they

discover any information that is contrary to or pertinent to the statements made in the Corbin

Declaration and the Attias Declaration, the Brokers will promptly disclose such information to

this Court and the U.S. Trustee.

       27.      The Debtor has been advised that each of the Brokers has not agreed to share with

any person or firm, other than its own principals and employees, the compensation to be paid by

the Debtor for the professional services rendered in connection with this case.

                            FEE APPLICATION REQUIREMENTS

       28.      The Debtor respectfully submits that, because the Brokers’ compensation is

results oriented and directly related to benefits received by the Debtor’s estate as a result of the

sale transaction, requiring the Brokers to filed detailed time records and periodic fee applications

in accordance with sections 330 and 331 of the Bankruptcy Code, and in compliance with

Bankruptcy Rule 2016 and General Order M-447, Amended Guidelines for Fees and

Disbursements for Professionals in Southern District of New York Bankruptcy Cases (the “Fee

Guidelines”) is unnecessary under the circumstances. The Debtor has been advised by the

Brokers that it is not their practice to keep detailed time records similar to those customarily kept

by attorneys and other professionals who are compensated on an hourly basis.




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       29.     As set forth herein, the Brokers are being retained and will be employed by the

Debtor to perform a highly specialized and discrete task and accordingly, will not be

compensated based upon time and effort expended. Instead, the Brokers will be compensated

based on a percentage of the proceeds of any final transaction consummated in connection with

the Property. Requiring the Brokers to record and submit detailed time entries in light of the

nature of the services to be rendered by the Brokers and the flat fee, percentage-based fee

structure proposed under the Listing Agreement would be unduly burdensome to the Brokers.

The Debtor further acknowledges and agrees that the ultimate benefit to the Debtor’s estate from

the Brokers’ services likely could not be measured merely by reference to the number of hours to

be expended by the Brokers’ professionals in the performance of such services. Accordingly, the

Debtor requests that the Brokers be relieved of the requirement to maintain detailed time records

or file interim fee applications, and any fee application filed by the Brokers not be subject to

review under section 330 of the Bankruptcy Code.

                                             NOTICE

       30.     Notice of this Application has been provided to (i) the Office of the United States

Trustee, (ii) the Debtor’s prepetition secured creditors, and (iii) the Debtor’s unsecured creditors.

In light of the nature of the relief requested herein, the Debtor submits that no other or further

notice is necessary.

       31.     No previous application for the relief requested herein has been made in this or

any other court.

               WHEREFORE, the Debtor respectfully requests the Court enter an order

substantially in the form annexed hereto as Exhibit A approving the retention of the Brokers as

the Debtor’s exclusive real estate brokers and granting such other and further relief as the Court

deems just and proper.


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Dated: New York, New York
       March 12, 2020

                                            RUBIN LLC

                                            By:    /s/ Paul A. Rubin
                                                   Paul A. Rubin
                                                   Hanh V. Huynh

                                            345 Seventh Avenue, 21st Floor
                                            New York, New York 10001
                                            Tel: 212.390.8054
                                            Fax: 212.390.8064
                                            prubin@rubinlawllc.com
                                            hhuynh@rubinlawllc.com




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                             EXHIBIT A
                  (PROPOSED ORDER)
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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                                    :
In re:                              :                          Chapter 11
                                    :
WANSDOWN PROPERTIES CORPORATION :                              Case No.: 19-13223 (SMB)
N.V.,                               :
                                    :
               Debtor.              :
------------------------------------x

         ORDER GRANTING DEBTOR’S APPLICATION FOR AN ORDER
    AUTHORIZING THE RETENTION OF COMPASS AND ROSEWOOD REALTY
    GROUP AS REAL ESTATE BROKERS PURSUANT TO SECTIONS 327(a) AND
     328(a) OF THE BANKRUPTCY CODE AND BANKRUPTCY RULES 2014(a)

        Upon the application (the “Application”)1 of Wansdown Properties Corporation N.V. (the

“Debtor”) for entry of an order approving the retention of Urban Compass, Inc. d/b/a Compass

(“Compass”) and Rosewood Realty Group (“Rosewood,” and together with Compass, the

“Brokers”), as exclusive real estate brokers for the Debtor pursuant to sections 327(a) and 328(a)

of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2014 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and Local Rule 2014-1 of the Local Bankruptcy

Rules for the Southern District of New York (the “Local Rules”); and upon the Declaration of

Greg Corbin, and the Declaration of Charlie Attias in support of the Application; and a hearing on

the Application having been held on March [ ], 2020 (the “Hearing”); and the Court having

reviewed the Application, the Corbin Declaration and the Attias Declaration; and the Court being

satisfied based on the representations made in the Application, Corbin Declaration, and the Attias

Declaration that the Brokers are each a “disinterested person” within the meaning of sections

101(14) and 327(a) of the Bankruptcy Code; and the relief requested in the Application is



1
 Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to such terms in the
Application.
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necessary and in the best interests of the Debtor’s estate, creditors, and other parties-in-interest;

and upon the record of the Hearing; and it appearing that the Court has jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334; and it further appearing that this matter is a core proceeding

pursuant to 28 U.S.C. § 157(b); and venue being proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and due and sufficient notice of the Application having been given under the particular

circumstances; and it appearing that no other or further notice need be provided; and upon the

record herein; and after due deliberation thereon; and sufficient cause appearing therefor, it is

hereby

ORDERED THAT,

         1.    The Application is GRANTED as set forth herein.

         2.    Pursuant to sections 327(a) and 328(a) of the Bankruptcy Code and Bankruptcy

Rule 2014, the Debtor is hereby authorized to employ and retain the Brokers as the Debtor’s

exclusive real estate brokers to assist with the sale and disposition of the Property on the terms set

forth in the Application, the Listing Agreement, the Corbin Declaration and the Attias Declaration.

         3.    The terms and provisions of the Listing Agreement are reasonable and are approved,

and the Debtor is authorized to (i) compensate and reimburse the Brokers in accordance with the

Listing Agreement, and (ii) pay the Brokers their commission directly from the sale proceeds of

the Property or as otherwise provided for in the Listing Agreement. The Broker’s commission

remains subject to the filing of a final fee application by the Brokers in accordance with the

applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules and any

orders entered by the Court; provided, however, that the Brokers shall be compensated and

reimbursed pursuant to Bankruptcy Code section 328(a) and that the Brokers’ commission and




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expenses shall not be subject to the standard of review set forth in section 330 of the Bankruptcy

Code.

        4.      Any unpaid commission shall be treated as an administrative expense claim under

section 507(a)(2) of the Bankruptcy Code.

        5.      To the extent the Application, the Listing Agreement, the Corbin Declaration or the

Attias Declaration is inconsistent with this Order, the terms of this Order shall govern.

        6.      The Debtor is authorized to take all actions necessary to effectuate the relief granted

pursuant to this Order in accordance with the Application.

        7.      Notwithstanding any stay that might be imposed by Bankruptcy Rule 6004(h), this

Order shall be effective and enforceable immediately upon entry hereof.

        8.      The Debtor is authorized and empowered to take all actions necessary to implement

the relief granted in this Order.

        9.      This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation or interpretation of this Order.

NO OBJECTION:



Office of the United States Trustee

Dated: New York, New York
       March [ ], 2020
                                                       ____________________________________
                                                       UNITED STATES BANKRUPTCY JUDGE




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                             EXHIBIT B
               (LISTING AGREEMENT)
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                                                                               RETENTION AGREEMENT

This Retention Agreement (“Agreement”) is between WANSDOWN PROPERTIES CORPORATION
N.V. (“Debtor”), ROSEWOOD REALTY GROUP (“Rosewood”) and URBAN COMPASS, INC.
D/B/A COMPASS (“Compass”). Rosewood and Compass may be referred to collectively hereinafter as
the “Brokers” and each of Rosewood and Compass may be referred to individually hereinafter as a
“Broker.” Debtor hereby employs and retains the Brokers, granting the Brokers for a period of time as set
forth herein to act as special real estate advisors for the Debtor having, among other things, the sole and
exclusive and irrevocable right and authority to negotiate the sale of all or any portion of the real property
know as, and/or air rights pertaining to, 29 Beekman Place, New York, New York 10022 (all or a portion of
the property and/or air rights related thereto are referred to hereinafter as the “Property” and such sale is referred
to hereinafter as the “Transaction”).

1.   Subject to approval of the Bankruptcy Court (defined hereinafter), the term of Debtor’s retention of the
     Brokers shall be effective and commence on the date this Agreement is executed by all of the parties to this
     Agreement and shall continue in effect for one hundred eighty (180) days from the date of entry an order of
     the Bankruptcy Court approving this Agreement (the “Term”). Thereafter, the Term shall be automatically
     extended for successive thirty (30) day periods until terminated by either Debtor or a Broker upon at least
     thirty (30) days advance written notice to the other parties. For the avoidance of doubt, a termination of this
     Agreement by Debtor or a Broker pursuant to the immediately prior sentence shall result in a termination of
     this Agreement with respect to all of the parties to this Agreement.


2.   Intentionally Omitted.

3.   Intentionally Omitted.

4.   Subject to Section 4(c) below, the Brokers will be paid, as their full and complete compensation for all
     brokerage commissions and expenses for all services that have been rendered and that will be rendered in
     connection with the Transaction, an aggregate commission equal to five percent (5%) of the gross purchase
     price of the Property (the “Commission”) as follows: fifty percent (50%) of the Commission shall be paid
     to Compass and fifty percent (50%) of the Commission shall be paid to Rosewood, in each case, at the
     closing of the Transaction (the “Closing”), without further order of the Court, by the Prospective Purchaser
     (as defined hereinafter), upon the occurrence of any of the following events:

         a. Debtor enters into an agreement during the Term to sell, transfer or convey ownership of the Property
            in whole or in part, whether individually or as part of a package, or a sale of the Property at a
            bankruptcy auction, or other sale permitted by the bankruptcy court, such as a sale under Section 363
            of the Bankruptcy Code or pursuant to a confirmed plan of reorganization, regardless of whether the
            Debtor engages a different broker or advisor to close the Transaction; or

         b. If a sale, exchange or other conveyance of the Property or ownership or control of the Property is
            made or takes place, within one hundred eighty (180) days after expiration or termination of the
            Term (the “Additional Period”), to a Prospective Purchaser with whom Debtor had not reached an
            agreement during the Term, but (i) with whom a Broker has negotiated concerning the Property, or
            to whose attention the Property has been brought by a Broker, or who was introduced to Debtor by
            a Broker during the Term, and (ii) to whom such Broker has shown the Property, during the Term
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             (each such Prospective Purchaser shall hereinafter be referred to as an “Active Prospect”). Within
             five (5) days after the expiration or termination of the Term, each Broker shall deliver to Debtor a
             true, correct and complete list of Active Prospects.

        c. Notwithstanding anything to the contrary contained in this Agreement, if a sale, exchange or other
           conveyance of the Property, or ownership or control of the Property, is made or takes place, whether
           during the Term or the Additional Period, to a Prospective Purchaser (i) listed on Exhibit A and (ii)
           with whom Compass has visited the Property and to whom Compass has shown the Property, then
           the Commission shall not be paid to the Brokers in accordance with the allocation set forth in Section
           4 above; rather, the Commission shall be paid as follows: seventy-five percent (75%) of the
           Commission shall be paid to Compass and twenty-five percent (25%) of the Commission shall be
           paid to Rosewood, in each case, at the Closing, without further order of the Court, by the Prospective
           Purchaser.

For these purposes, a “Prospective Purchaser” shall include partnerships, joint ventures, limited liability
companies, corporations, trusts or other similar entities which the prospective buyer represents, is involved with,
or in which it holds an ownership, management or beneficial interest. For the purposes of this Agreement, the
term “gross purchase price” includes the sum of the total consideration transferred to, or for the benefit of, the
Debtor and value of debt and liabilities assumed and liabilities reduced, and any credit bid by a secured lender,
and any consideration transferred to or for the benefit of the secured lender for the assignment of its credit bid or
claim, and contingent, earned or other consideration paid or payable, directly or indirectly, in connection with a
sale or transfer of title to the Property. For the purposes of this Agreement, the gross purchase price and the
Commission due to the Brokers will not be offset or reduced by the costs of advertising, the Debtor’s legal fees,
any break-up fees, broker’s expenses or closing costs and/or closing adjustments, including any adjustments
and/or payments of whatever kind to lienholders, secured parties or offerors. Debtor will not close on any sale or
transfer of the Property if the Brokers are not paid at the Closing the Commission to which the Brokers are entitled
hereunder, unless the Bankruptcy Court requires Brokers to file a fee application, in which case Brokers will paid
following entry of an order authorizing their payment.

For the avoidance of doubt, if Debtor enters into a contract for the sale of the Property, the result of which would
entitle the Brokers to the Commission hereunder at the Closing of such sale, and a higher or better offer is
approved by the Bankruptcy Court, then regardless of who may be the successful purchaser, the Brokers will be
entitled to a Commission pursuant to the terms of this Agreement, as, if and when the Closing with the successful
purchaser occurs, based on the successful purchaser’s gross purchase price.

Each Broker agrees that Debtor may withdraw from negotiations or agreements with any Prospective Purchaser
and refuse to continue therewith at any time, for any reason whatsoever, without notice to the Brokers and without
any liability to the Brokers of any kind for any compensation or damages.

Each Broker agrees that in no event shall Debtor be obligated to institute any legal or other proceedings to compel
a Prospective Purchaser to conclude a transaction in order fulfill any of said Prospective Purchaser's obligations,
in the event of a default or breach by said Prospective Purchaser.

5.   All inquiries, offers, expressions of interest and communications from principals, outside brokers and other
     parties or professionals will be re-directed and referred to a Broker by Debtor, its principals, officers, counsel,
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     accountants and other professionals or representatives. Debtor agrees to conduct all negotiations through
     the Brokers exclusively and to advise all interested persons of this exclusive right. Subject to Bankruptcy
     Court approval of this Agreement, each Broker will be authorized to act as agent for Debtor, and to advertise,
     market, negotiate and coordinate the closing on the sale or refinancing of the Property. In order to coordinate
     efforts concerning a possible Transaction, neither Debtor nor any representative of Debtor will initiate any
     discussions with a third party regarding a potential Transaction involving the Property except through a
     Broker.

6.   The Brokers may, at their own discretion, seek the cooperation of other licensed real estate brokers and
     professionals in the sale or disposition of the Property. If the Transaction is effected by third-party
     broker cooperating with a Broker at such Broker’s request, then at Closing and pursuant to this
     Agreement, the Brokers will be paid the Commission, out of which the requesting Broker shall
     compensate such third-party broker with an amount previously agreed upon between the requesting
     Broker and such third-party broker pursuant to a separate written agreement between the requesting
     Broker and such third-party broker. In such situation, such requesting Broker will disclose any such
     agreement in a statement filed with the Bankruptcy Court at least thirty (30) days prior to the Closing.
     For the avoidance of doubt, Debtor shall have no liability for any commissions or otherwise with
     respect to any broker or similar real estate professional other than the Brokers, and the Broker
     requesting any such broker’s or professionals assistance, participation or involvement shall have sole
     responsibility for the payment of commissions, if any, earned by said other brokers or professionals
     dealing or claiming to have dealt with such Broker. Furthermore, each Broker agrees to indemnify
     Debtor and hold Debtor harmless from, for and against any and all damage and expense (including,
     without limitation, reasonable attorneys' fees and expenses) that Debtor may suffer or incur as a result
     of any claim made against Debtor with respect to the Transaction by any broker or similar real estate
     professional whose claim is founded in whole or in part on the acts of, or dealings with such Broker,
     limited, however, to the amount of the Commission actually received by such Broker.

7.   Intentionally Omitted.

8.   Debtor will, promptly after its execution of this Agreement, file an application and proposed order seeking
     from the Bankruptcy Court approval of its employment of the Brokers pursuant to the terms of this
     Agreement, pursuant to Sections 327(a) and 328(a) of the Bankruptcy Code. Debtor agrees and
     acknowledges to attach a complete copy of this Agreement to the application. Debtor will provide the
     Brokers with the employment application and proposed order authorizing Debtor’s employment of Brokers
     sufficiently in advance of their filing in order for the Brokers to have ample time to review and discuss any
     comments they may have with Debtor, and the employment application must be acceptable to the Brokers
     in their discretion. The proposed order will include, without limitation, the following terms and conditions:
     (a) finding that none of the fees or commissions to the Brokers hereunder constitute a “bonus” under
     applicable law; (b) directing that Brokers will be exempt from keeping time records for its work hereunder
     (as the Brokers will not be billing on an hourly basis; (c) finding that the terms and conditions of this
     Agreement are reasonable. and (d) directing that any unpaid commissions, fees, and marketing expenses
     owed to the Brokers shall be treated as an administrative claim under Section 507(a)(1) of the Bankruptcy
     Code.



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9.   If an order containing these terms is not obtained from the Bankruptcy Court within 30 days after the parties
     to this Agreement have signed this Agreement, then either Broker may terminate this Agreement in which
     case it will be null and void as to all parties to this Agreement. If Debtor obtains an order of the Bankruptcy
     Court authorizing its use of cash collateral or debtor in possession financing and if the order requires
     submission of a proposed budget specifying post-petition expenditures, then Debtor will include in the
     budget line items providing for the payment of commissions or fees to be paid or reimbursed under this
     Agreement. All amounts projected to be paid to the Brokers under this Agreement will be included in the
     carve-out for professionals provided in Debtor’s bankruptcy case.

10. This Agreement may not be modified, assigned and or rescinded, and once approved by the Bankruptcy
    Court, will be binding on and inure to the benefit of all parties including any of Debtor’s affiliates,
    representatives, designees, successors and assigns, unless it is changed in a writing signed by all parties to
    this Agreement.

11. Debtor will deliver to the Brokers all financial and other information reasonably requested by the Brokers
    for the purpose of its performance hereunder to the extent in Debtor’s possession, including without
    limitation title reports, engineering and environmental reports, building plans, plot plans and surveys, income
    and expense statements, lease summaries, and rent roll. All information provided by Debtor to the Brokers
    will be, to the knowledge of Debtor, accurate and complete in all material respects, and if Debtor becomes
    aware that any information it has provided the Brokers is or has become materially inaccurate or incomplete,
    Debtor will promptly so notify the Brokers in writing. Debtor agrees to disclose to the Brokers any existing
    liens or encumbrances against the Property and known to Debtor, and further agrees to disclose any new
    liens which arise during the Term and are known to Debtor. Debtor will immediately inform the Brokers of
    any building code violations, environmental hazard or contamination relating to the Property, and of any
    existing or pending violation of federal, state or local environmental laws that become known to Debtor.
    The Brokers will be entitled to rely, without independent verification, on the accuracy and completeness of
    all information supplied to it by Debtor and the Brokers will not be responsible to Debtor, its creditors, or
    any third party for the inaccuracy or incompleteness of any information provided to it by Debtor.

12. Intentionally Omitted.

13. Debtor will share with the Brokers information the Brokers may request regarding the source of any sale
    that Debtor asserts did not involve the Brokers or any of its agents or representatives to the extent such
    information may affect the Brokers’ entitlement to payment of the Commission hereunder. Any Commission
    to which the Brokers are entitled under this Agreement will be paid at Closing, by official bank / certified
    check or wire, unless the Bankruptcy Court requires Brokers to file a fee application, in which case Brokers
    will paid following entry of an order authorizing their payment.

14. . For the avoidance of doubt, the Brokers will be entitled to the Commission, regardless of whether the buyer
    or other party entering into the Transaction with Debtor was first introduced to the Property by the Brokers,
    subject to the terms and conditions of this Agreement, including, without limitation, Section 4(c) of this
    Agreement.

15. Each party to this Agreement will deal with the others fairly so as to allow each party to this Agreement to
    perform its duties and to receive the benefits of this Agreement, and will not interfere, prevent or prohibit
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     the other parties, in any manner, before or during the Closing, from carrying out its obligations under this
     Agreement.

16. Should the Bankruptcy Court order a sale of the Property at auction, the Brokers are authorized to and will
    act as the exclusive auctioneer and all terms will remain the same.

17. Debtor represents and warrants to Rosewood that:

      a. Upon approval by the Bankruptcy Court, Debtor will have the right, power and authority to retain the
         Brokers and will be authorized and directed to perform this Agreement.

      b. To the best of Debtor’s knowledge, and unless otherwise previously disclosed, Debtor holds fee title
         to the Property subject to the exceptions that would be set forth in a current title report for the Property.

      c. If Debtor reaches agreement with a third party to sell the Property, Debtor will use its best efforts to
         obtain, and will not delay, any effort, application, petition or motion to obtain any necessary approval
         of the Bankruptcy Court or any other judicial, governmental, or regulatory authority approval.

18. Intentionally Omitted

19. The Commission, to the extent payable to the Brokers hereunder, will be free and clear of any liens, claims
    and encumbrances, including the liens of any secured creditor of Debtor.

20. Except as otherwise set forth herein, the Brokers will not be responsible for any other fees or commissions
    in connection with a disposition of the Property by the Debtor, including any fees or commissions that may
    be owed to any other broker.

21. Debtor’s obligations under this Agreement will survive any change in control of the Debtor. If a trustee in
    bankruptcy is appointed for the Debtor, this Agreement will survive and remain in full force and effect.

22. The Bankruptcy Court will retain jurisdiction over any and all disputes under or otherwise relating to the
    construction and enforcement of the transactions contemplated hereunder. If the Debtor’s bankruptcy case
    is dismissed, or the Automatic Stay is lifted or modified with respect to a Property and that Property is not
    disposed of under Bankruptcy Court jurisdiction, then any dispute between the parties arising under this
    Agreement will be resolved in the New York State Supreme Court, County of New York, Commercial
    Division.

23. The Brokers may at their option and own expense place announcements and advertisements or otherwise
    publicize their role in connection with this Agreement, including on their internet websites, in newspapers,
    periodicals, and in their marketing materials as they may choose, stating that they have acted as advisor(s)
    to Debtor with respect to a transaction involving the Property.

24. The Brokers will have no liability for delays, failure in performance, or damages due to fire, explosion,
    lightning, power surges or failures, strikes or labor disputes, water, war, civil disturbances, acts of civil or
    military authorities, telecommunications failures, fuel or energy shortages, acts or omissions of
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     communications carriers, or other causes beyond the Brokers’ control whether or not similar to the
     foregoing.

25. From time to time, a Broker or one of its affiliated entities may and shall have the right to advise or to provide
    services to several industry participants, some of which may be competitors of the Debtor. The Debtor, and
    its directors, officers, members and principals, waive any right to commence an action, suit or proceeding or
    to make any demand, complaint or claim against a Broker, its subsidiaries, affiliates, directors, officers,
    members, principals or other personnel, that arises out of the right of a Broker or one of its related entities to
    advise or provide services to an industry competitor of the Debtor. Notwithstanding the foregoing, because
    of the substantial number of brokers and salespersons employed by each Broker, a broker or brokerage team
    employed by a Broker may on occasion represent a prospect who may be interested in the Property, and
    which representation is intended to be independent of such Broker’s representation hereunder. In such a
    case, such Broker will disclose its dual role in the potential transaction to the Debtor and to the prospect, and
    will implement reasonable industry safeguards to assure confidentiality to both the Debtor and the prospect.
    The Debtor acknowledges and agrees that: (a) such occasional dual representation may occur, subject to
    appropriate disclosure as provided above; (b) such brokerage team representing the prospect will be deemed
    to be a permitted independent engagement for purposes hereof, but Debtor will have no responsibility for
    same; and (c) Debtor agrees that the Brokers will be entitled to the Commission payable hereunder
    notwithstanding a disclosed dual engagement.

26. Each Broker’s role will be as agent of the Debtor. The Debtor will remain fully responsible for all decisions
    and matters as to which a Broker’s advice is sought. The Brokers are not assuming any management
    responsibilities for or on behalf of the Debtor. Debtor and the Brokers acknowledge and agree that Debtor’s
    engagement of the Brokers does not confer and is not intended to confer any rights upon any person or entity
    not a party hereto, including any security holders or creditors of the Debtor. The Brokers’ duties hereunder
    run solely to the Debtor. All advice provided by the Brokers to the Debtor pursuant to this Agreement is
    intended solely for the use and benefit of the Debtor. Debtor agrees that the Brokers’ advice may not be
    disclosed publicly or made available to third parties without the Brokers’ prior written consent. The Brokers
    may condition the granting of such prior written consent upon obtaining a non-reliance letter and a release
    from any such third parties.

27. Any notice or communication sent with respect to this Agreement must be in writing and delivered via
    overnight mail (using a nationally recognized courier service):

     If to Debtor:
     WANSDOWN PROPERTIES CORPORATION N.V.
     29 Beekman Place
     New York, NY 10022

     With a copy to:

     BLANKROME
     1271 Avenue of the Americas
     New York, NY 10020
     Attn: Lawrence F. Flick II, Esq.
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     flick@blankrome.com

     If to Rosewood:
     Rosewood Realty Group
     38 East 29th Street, 5th Fl.
     New York, New York 10016
     Attn: Greg Corbin

     If to Compass:
     COMPASS
     10 East 53rd Street, 4th Floor
     New York, NY 10022
     Attn: Charlie Attias

     All such notices or communications will be deemed to have been given one business day following the date
     of delivery by overnight mail addressed as aforesaid.

28. Signatures to this Agreement may be exchanged by hand, by mail, by fax, by photocopy, or in
    counterparts; any such method being binding on both sides when completed and exchanged.

29. This Agreement is subject to approval of the United States Bankruptcy Court for the Southern District of
    New York (the “Bankruptcy Court”). If this Agreement is not approved by the Bankruptcy Court, then this
    Agreement will be deemed terminated. This paragraph will survive termination of this Agreement. This
    Agreement has been made under and will be governed by the laws of the State of New York., without giving
    effect to conflicts of law rules.

30. Compass acknowledges and agrees that the Exclusive Townhouse Sales Agreement dated September 7,
    2019 between Debtor and Compass, as the same may have been amended, modified or supplemented
    (“Original Compass Agreement”), is hereby terminated in its entirety and is hereby null and void, and neither
    Debtor nor Compass shall have any liability or obligation to each other in connection with the Original
    Compass Agreement, provided, however, that Paragraph 2 of that certain Rider to Exclusive Right to Sell
    Agreement dated September 12, 2019 between Debtor and Compass shall remain in full force and effect
    and is hereby incorporated by reference in this Agreement solely as between Debtor and Compass.

 31. Each Broker shall submit to Debtor, on a bi-weekly basis, a written status report of such Broker's efforts
     since the date of the previous such report in connection with the Property and of any existing and viable
     offers to purchase the Property.

               If the foregoing accurately sets forth our Agreement, please sign below and return this original
Agreement to Rosewood. This Agreement contains the entire agreement between Debtor and the Brokers. Any
prior discussions and agreements between the parties concerning this subject matter are superseded by this
Agreement. This Agreement will be deemed to have been jointly drafted by the parties to this Agreement and
there will be no presumption in interpretation against any party as the drafter of this Agreement. The terms of this
Agreement may not be modified or changed except by a writing signed by the parties. Each of Debtor, Rosewood
and Compass understands that this is a legal document, acknowledges that it has consulted with counsel of its
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          Sarah Orlinsky
         Sales Manager

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                                                     Exhibit A

                                   List of Prospective Purchasers per Section 4(c)

    1.    Nino Shmariahu
    2.     Gandy Thomas – Haiti Government
    3.    The Laos Mission to the UN
    4.    Ming Hsu
    5.    Elbaz Family and Affiliates
    6.    Todd Meister
    7.    David G. Miller private client
    8.    Ambassador Mohamed Bahr Aluloom of Iraq
    9.    Joshua, Joseph and Walter Schik and affiliates
    10.   Anoop & Mrinalini Dave
    11.   Mr. Moshe Azoulay and affiliates
    12.   Government of Angola
    13.   Kabir Manchanda
    14.   UN British Ambassador
    15.   Cote D'ivoire Government
    16.   Government of Qatar
    17.   H.R.H Prince Fawaz Al-Jawali
    18.   TH Associates
    19.   Dolphin Capital
    20.   Latsis Familly
    21.   Samaras Familly
    22.   Millenium Partners
    23.   Lemos Familly
    24.   Vernicos Familly
    25.   Campagnioli Familly
    26.   Nostrati Familly
    27.   Chetrit Family and Affiliates
    28.   Ron Bruder Family and Affiliates
    29.   Allan Cheney




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